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Exhibit A

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Office of the Governor smssseezescee

PROCLAMATION

10/04/2006

Prison Overcrowding State of Emergency Proclamation

PROCLAMATION
by the
Governor of the State of California

WHEREAS, the California Department of Corrections and Rehabilitation (CDCR) is required by California
law to house inmates committed to state prison; and

WHEREAS, various trends and factors, including population increases, parole policies, sentencing laws, and
recidivism rates have created circumstances in which the CDCR is now required to house a record number of
inmates in the CDCR prison system, making the CDCR prison system the largest state correctional system in the
United States, with a total inmate population currently at an all-time high of more than 170,000 inmates; and

WHEREAS, due to the record number of inmates currently housed in prison in California, all 33 CDCR
prisons are now at or above maximum operational capacity, and 29 of the prisons are so overcrowded that the CDCR
is required to house more than 15,000 inmates in conditions that pose substantial safety risks, namely, prison areas
never designed or intended for inmate housing, including, but not limited to, common areas such as prison
gymnasiums, dayrooms, and program rooms, with approximately 1,500 inmates sleeping in triple-bunks; and

- WHEREAS, the current severe overcrowding in 29 CDCR prisons has caused substantial risk to the health
and safety of the men and women who work inside these prisons and the inmates housed in them, because:

With so many inmates housed in large common areas, there is an increased, substantial risk of violence, and
greater difficulty controlling large inmate populations.

With large numbers of inmates housed together in triple-bunks, there is an increased, substantial risk for
transmission of infectious illnesses.

The triple-bunks and tight quarters create line-of-sight problems for correctional officers by blocking views,
creating an increased, substantial security risk. :

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WHEREAS, the current severe overcrowding in these 29 prisons has also overwhelmed the electrical
systems and/or wastewater/sewer systems, because those systems are now often required to operate at or above the
maximum intended capacity, resulting in an increased, substantial risk to the health and safety of CDCR staff,
inmates, and the public, because:

Overloading the prison electrical systems has resulted in power failures and blackouts within the prisons,
creating increased security threats. It has also damaged fuses and transformers.

Overloading the prison sewage and wastewater systems has resulted in the discharge of waste beyond
treatment capacity, resulting in thousands of gallons of sewage spills and environmental contamination.

And when the prisons “overdischarge” waste, bacteria can contaminate the drinking water supply, putting the
public’s health at an increased, substantial risk. ,

WHEREAS, overloading the prison sewage and water systems has resulted in increased, substantial risk of
- damage to state and privately owned property and has resulted in multiple fines, penalties and/or notices of
violations to the CDCR related to wastewater/sewer system overloading such as groundwater contamination and
environmental pollution; and

WHEREAS, overcrowding causes harm to people and property, leads to inmate unrest and misconduct,
reduces or eliminates programs, and increases recidivism as shown within this state and in others; and

WHEREAS, in addition to all of the above, in the 29 prisons with severe overcrowding, the following
circumstances exist:

Avenal State Prison has an operational housing capacity of 5,768 inmates, but it currently houses 7,422
inmates, with 1,654 inmates housed in areas designed for other purposes. At the same time, in the last year, there
were 64 incidents of assault/battery by inmates — 31 of them against CDCR staff — along with 15 riots/melees, and
27 weapon confiscations.

The California Correctional Center has an operational housing capacity of 5,724 inmates, but it currently
houses 6,174 inmates, with 450 inmates housed in areas designed for other purposes. At the same time, in the last
year, there were 128 incidents of assault/battery by inmates — 16 of them against CDCR staff — along with 34
riots/melees, and 21 weapon confiscations.

The California Correctional Institution has an operational housing capacity of 4,931, but it currently houses
5,702 inmates, with 771 inmates housed in areas designed for other purposes. At the same time, in the last year, there
were 125 incidents of assault/battery by inmates — 79 of them against CDCR staff — along with 5 riots/melees, and
57 weapon confiscations.

Centinela State Prison has an operational housing capacity of 4,368, but it currently houses 4,956 inmates,
with 588 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 141

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incidents of assault/battery by inmates — 30 of them against CDCR staff — along with 10 riots/melees, and 151
weapon confiscations.

The California Institution for Men has an operational housing capacity of 5,372, but it currently houses 6,615
inmates, with 1,243 inmates housed in areas designed for other purposes. At the same time, in the last year, there
were 170 incidents of assault/battery by inmates — 57 of them against CDCR staff — along with 21 riots/melees,
and 47 weapon confiscations.

The California Institution for Women has an operational housing capacity of 2,228, but it currently houses
2,624 inmates, with 396 inmates housed in areas designed for other purposes. At the same time, in the last year, there
were 65 incidents of assault/battery by inmates — 26 of them against CDCR staff — and 6 weapon confiscations.

The California Men’s Colony has an operational housing capacity of 6,294, but it currently houses 6,574
inmates, with 280 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
151 incidents of assault/battery by inmates — 33 of them against CDCR staff — along with 11 riots/melees, and 29
weapon confiscations.

The California State Prison at Corcoran has an operational housing capacity of 4,954, but it currently houses
5,317 inmates, with 363 inmates housed in areas designed for other purposes. At the same time, in the last year, there
were 147 incidents of assault/battery by inmates — 58 of them against CDCR staff — along with 5 riots/melees, and
111 weapon confiscations.

The California Rehabilitation Center has an operational housing capacity of 4,660, but it currently houses
4,856 inmates, with 196 inmates housed in areas designed for other purposes. At the same time, in the last year, there
were 65 incidents of assault/battery by inmates — 28 of them against CDCR staff — 9 riots/melees, and 34 weapon
confiscations.

The Correctional Training Facility has an operational housing capacity of 6,157, but it currently houses 7,027
inmates, with 870 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
85 incidents of assault/battery by inmates — 26 of them against CDCR staff — along with 9 riots/melees, and 27
weapon confiscations.

Chuckawalla Valley State Prison has an operational housing capacity of 3,443, but it currently houses 4,292
inmates, with 849 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
50 incidents of assault/battery by inmates — 11 of them against CDCR staff — along with 5 riots/melees, and 21
weapon confiscations.

Deuel Vocational Institution has an operational housing capacity of 3,115, but it currently houses 3,911
inmates, with 796 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
114 incidents of assault/battery by inmates — 54 of them against CDCR staff — along with 7 riots/melees, and 37
weapon confiscations.

High Desert State Prison has an operational housing capacity of 4,346, but it currently houses 4,706 inmates,
with 360 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 351

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incidents of assault/battery by inmates — 44-of them against CDCR staff — along with 6 riots/melees, and 289
weapon confiscations.

Ironwood State Prison has an operational housing capacity of 4,185, but it currently houses 4,665 inmates,
with 480 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 96
incidents of assault/battery by inmates — 19 of them against CDCR staff — along with 14 riots/melees, and 52
weapon confiscations.

Kern Valley State Prison has an operational housing capacity of 4,566, but it currently houses 4,686 inmates,
with 120 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 146
incidents of assault/battery by inmates — 60 of them against CDCR staff — along with 10 riots/melees, and 46
weapon confiscations.

TheCalifornia State Prison at Los Angeles has an operational housing capacity of 4,230, but it currently
houses 4,698 inmates, with 468 inmates housed in areas designed for other purposes. At the same time, in the last
year, there were 211 incidents of assault/battery by inmates — 123 of them against CDCR staff — along with 4
riots/melees, and 101 weapon confiscations.

Mule Creek State Prison has an operational housing capacity of 3,197, but it currently houses 3,929 inmates,
with 732 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 65:
incidents of assault/battery by inmates — 35 of them against CDCR staff — along with 1 riot/melee, and 28 weapon
confiscations.

North Kern State Prison has an operational housing capacity of 5,189, but it currently houses 5,365 inmates,
with 176 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 135
incidents of assault/battery by inmates — 43 of them against CDCR staff — along with 16 riots/melees, and 70
. weapon confiscations.

Pelican Bay State Prison has an operational housing capacity of 3,444, but it currently houses 3,604 inmates,
with 160 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 256
incidents of assault/battery by inmates — 88 of them against CDCR staff — along with 9 riots/melees, and 106
weapon confiscations.
t

Pleasant Valley State Prison has an operational housing capacity of 4,368, but it currently houses 5,112
inmates, with 744 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
205 incidents of assault/battery by inmates — 59 of them against CDCR staff — along with 12 riots/melees, and 26
weapon confiscations.

The Richard J. Donovan Correctional Facility has an operational housing capacity of 4,120, but it currently
houses 4,720 inmates, with 600 inmates housed in areas designed for other purposes. At the same time, in the last
year, there were 244 incidents of assault/battery by inmates — 118 of them against CDCR staff — along with 11
riots/melees, and 96 weapon confiscations.

The California State Prison at Sacramento has an operational housing capacity of 2,973, but it currently

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houses 3,213 inmates, with 240 inmates housed in areas designed for other purposes. At the same time, in the last
year, there were 264 incidents of assault/battery by inmates — 159 of them against CDCR staff — along with 5
riots/melees, and 118 weapon confiscations.

The California Substance Abuse Treatment Facility and State Prison at Corcoran has an operational housing
capacity of 6,360, but it currently houses 7,593 inmates, with 1,233 inmates housed in areas designed for other
purposes. At the same time, in the last year, there were 120 incidents of assault/battery by inmates — 53 of them
against CDCR staff — along with 20 riots/melees, and 124 weapon confiscations.

The Sierra Conservation Center has an operational housing capacity of 5,657, but it currently houses 6,107
inmates, with 450 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
61 incidents of assault/battery by inmates — 18 of them against CDCR staff — along with 19 riots/melees, and 50
weapon confiscations.

The California State Prison at Solano has an operational housing capacity of 5,070, but it currently houses
5,858 inmates, with 788 inmates housed in areas designed for other purposes. At the same time, in the last year, there
were 60 incidents of assault/battery by inmates — 26 of them against CDCR staff — along with 4 riots/melees, and
114 weapon confiscations.

San Quentin State Prison has an operational housing capacity of 4,933, but it currently houses 5,183 inmates,
with 287 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 262
incidents of assault/battery by inmates — 123 of them against CDCR staff — along with 15 riots/melees, and 118
weapon confiscations.

Salinas Valley State Prison has an operational housing capacity of 4,200, but it currently houses 4,680
inmates, with 480 inmates housed in areas designed for other purposes. At the same time, in thie last year, there were
181 incidents of assault/battery by inmates — 82 of them against CDCR staff — along with 7 riots/melees, and 91
weapon confiscations. ,

Valley State Prison for Women has an operational housing capacity of 3,902, but it currently houses 3,958
inmates, with 56 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
125 incidents of assault/battery by inmates — 75 of them against CDCR staff — and 15 weapon confiscations.

Wasco State Prison has an operational housing capacity of 5,838, but it currently houses 6,098 inmates, with
260 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 226 incidents
of assault/battery by inmates — 97 of them against CDCR staff — along with 32 riots/melees, and 82 weapon
confiscations.

WHEREAS, some of these 29 severely overcrowded prisons may even be housing more inmates, because
the inmate population continually fluctuates among the CDCR prisons; and

WHEREAS, in addition to the 1,671 incidents of violence perpetrated in these 29 severely overcrowded
prisons by inmates against CDCR staff last year, and the 2,642 incidents of violence perpetrated in these prisons on
inmates by other inmates in the last year, the suicide rate in these 29 prisons is approaching an average of one per

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week; and

WHEREAS, the federal court in the Coleman case found mental-health care in CDCR prisons to be below
federal constitutional standards due in part to the lack of appropriate beds and space; and

WHEREAS, the use of common areas for inmate housing has severely modified or eliminated certain inmate
programs in the 29 prisons with severe overcrowding; and

WHEREAS, the severe overcrowding has also substantially limited or restricted inmate movement, causing
significantly reduced inmate attendance in academic, vocational, and rehabilitation programs; and

WHEREAS, overcrowded prisons in other states have experienced some of the deadliest prison riots in
American history, including:

In 1971, the nation’s deadliest prison riot occurred in Attica, New York, resulting in the death of 43 people.
On the day of this riot, the prison — which was built for 1600 — housed approximately 2,300 inmates.

In 1981, a riot occurred in the New Mexico State Penitentiary. More than 30 inmates were killed, more than
100 people were injured, and 12 officers were taken hostage, some of whom were beaten, sexually assaulted, and/or
raped. On the day of this riot, the prison — which was built for 900 — housed approximately 1,136 inmates.

In 1993, a riot occurred in Lucasville, Ohio. One officer was murdered, four officers were seriously injured,
and nine inmates were killed. On the day of this riot, the prison — which was built for 1600 — housed
approximately 2,300 inmates.

WHEREAS, I believe immediate action is necessary to prevent death and harm caused by California’s
severe prison overcrowding; and

WHEREAS, because of the housing shortage in CDCR prisons, the CDCR has current contracts with four
California counties to house 2,352 additional state inmates in local adult jails, but this creates the following
overcrowding problem in the county jails:

According to a report by the California State Sheriffs’ Association in June 2006, adult jails recently averaged
a daily population of approximately 80,000 inmates. On a typical day, the county jails lacked space for more than
4,900 inmates across the state.

Based on the same report, 20 of California’s 58 counties have court-imposed population caps resulting from
litigation brought by or on behalf of inmates in crowded jails and another 12 counties have self-imposed caps.

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Most of California’s jail population consists of felony inmates, but when county jails are full, someone in
custody must be released before a new inmate can be admitted.

The 2006 Sheriffs’ Association report states that last year, 233,388 individuals statewide avoided
incarceration or were released early into local communities because of the lack of jail space.

WHEREAS, overcrowding conditions are projected to get even worse in the coming year, to the point that
the CDCR expects to run out of all common area space to house prisoners in mid-2007, and will be unable to receive
any new inmates; and

WHEREAS, in January 2006, I proposed $6 billion in the Strategic Growth Plan to help manage inmate
population at all levels of government by increasing the number of available local jail beds and providing for two
new prisons and space for 83,000 prisoners to address California’s current and ‘future incarceration needs; and

WHEREAS, the California Legislature failed to act upon this proposal; and

WHEREAS, in March 2006, a proposal was submitted as part of my 2006-07 budget to enable the CDCR to
contract for a total of 8,500 beds in community correctional facilities within the state; and

WHEREAS, the California Legislature denied this proposal; and

WHEREAS, on June 26, 2006, I issued a proclamation calling the Legislature into special session because I
believed urgent action was needed to address this severe problem in California’s prisons, and I wanted to give the
Legislature a further opportunity to address this crisis; and

WHEREAS, the CDCR submitted detailed proposals to the Legislature to address the immediate and longer-
term needs of the prison system in an effort resolve the overcrowding crisis; and

WHEREAS, the California Legislature failed to adopt the proposals submitted by the CDCR, and also failed
to adopt any proposals of its own; and

WHEREAS, in response, my office directed the CDCR to conduct a survey of certain inmates in California’s
general population to determine how many might voluntarily transfer to out-of-state correctional facilities; and

WHEREAS, the CDCR reports that more than 19,000 inmates expressed interest in voluntarily transferring
to a correctional facility outside of California; and

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WHEREAS, the overcrowding crisis gets worse with each passing day, creating an emergency in the
California prison system.

NOW, THEREFORE, I, ARNOLD SCHWARZENEGGER, Governor of the State of California, in light of the
aforementioned, find that conditions of extreme peril to the safety of persons and property exist in the 29 CDCR
prisons identified above, due to severe overcrowding, and that the magnitude of the circumstances exceeds the
capabilities of the services, personnel, equipment, and facilities of any geographical area in this state. Additionally,
the counties within the state are harmed by this situation, as the inability to appropriately house inmates directly
impacts local jail capacity and the early release of felons. This crisis spans the eastern, western, northern, and
southern parts of the state and compromises the public’s safety, and I find that local authority is inadequate to cope
with the emergency. Accordingly, under the authority of the California Emergency Services Act, set forth at Title 2,
Division 1, Chapter 7 of the California Government Code, commencing with section 8550, I hereby proclaim that a
State of Emergency exists within the State of California’s prison system.

Pursuant to this proclamation:

I. The CDCR shall, consistent with state law and as deemed appropriate by the CDCR Secretary for
the sole purpose of immediately mitigating the severe overcrowding in these 29 prisons and the resulting impacts
within California, immediately contract for out-of-state correctional facilities to effectuate voluntary transfers of
California prison inmates to facilities outside of this state for incarceration consisting of constitutionally adequate
housing, care, and programming.

Il. The CDCR Secretary shall, after exhausting all possibilities for voluntary transfers of inmates, and in
compliance with the Interstate Corrections Compact and the Western Interstate Corrections Compact, and as he
deems necessary and appropriate to mitigate this emergency, effectuate involuntary transfers of California prison
inmates, based on criteria set forth below, to institutions in other states and those of the federal government for
incarceration consisting of constitutionally adequate housing, care, and programming. In such instance, because strict
compliance with California Penal Code sections 11191 and 2911 would prevent, hinder, or delay the mitigation of
the severe overcrowding in these prisons, applicable provisions of these statutes are suspended to the extent
necessary to enable the CDCR to transfer adult inmates, sentenced under California law, to institutions in other states
and those of the federal government without consent. This suspension is limited to the scope and duration of this
emergency.

A. The CDCR Secretary shall prioritize for involuntary transfer the inmates who meet the following criteria:

1. Inmates who: (a) have been previously deported by the federal government and are criminal aliens subject to
immediate deportation; or (b) have committed an aggravated felony as defined by federal statute and are subject to
deportation.

2. Inmates who are paroling outside of California.

3. Inmates who have limited or no family or supportive ties in California based on visitation records and/or other
information deemed relevant and appropriate by the CDCR Secretary.

4, Inmates who have family or supportive ties in a transfer state.

5. Other inmates as deemed appropriate by the CDCR Secretary.

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B. No person under commitment to the Division of Juvenile Justice may be considered for such transfer.

I. The CDCR Secretary shall, before selecting any inmate for transfer who has individual medical and/or
mental-health needs, consult with the court-appointed Receiver of the CDCR medical system and/or the court-
assigned Special Master in the Coleman mental-health case, depending on the healthcare needs of the inmate, to
determine whether a transfer would be appropriate.

IV. The CDCR Secretary shall, before effectuating any inmate transfer, carefully and thoroughly evaluate all
appropriate factors, including, but not limited to, the cost-effectiveness of any such transfer and whether an inmate
selected for transfer has any pending appeals or hearings that may be impacted by such transfer.

V. The CDCR shall, as deemed appropriate by the CDCR Secretary, contract for facility space, inmate
transportation, inmate screening, the services of qualified personnel, and/or for the supplies, materials, equipment,
and other services needed to immediately mitigate the severe overcrowding and the resulting impacts within
California. Because strict compliance with the provisions of the Government Code and the Public Contract Code
applicable to state contracts would prevent, hinder, or delay the mitigation of the severe overcrowding in these
prisons, applicable provisions of these statutes, including, but not limited to, advertising and competitive bidding
requirements, are suspended to the extent necessary to enable the CDCR to enter into such contracts as expeditiously
as possible. This suspension is limited to the scope and duration of this emergency.

I FURTHER DIRECT that as soon as hereafter possible, this proclamation be filed in the Office of the
Secretary of State and that widespread publicity and notice be given of this proclamation.

IN WITNESS WHEREOF I have hereunto set my hand and caused the Great Seal of the
State of California to be affixed this 4th day of October 2006.

ARNOLD SCHWARZENEGGER

Governor of California

ATTEST:

BRUCE McPHERSON

Secretary of State

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Exhibit B

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Data Analysis Unit Department of Corrections and Rehabilitation,
Estimates and Statistical Analysis Section State of California
Offender Information Services Branch November 6, 2006

WEEKLY REPORT OF POPULATION
AS OF MIDNIGHT November 1, 2006

TOTAL CDCR POPULATION
CHANGE SINCE

FELON/ CIVIL 11/02/05 DESIGN PERCENT STAFFED
OTHER ADDICT TOTAL NO. PCT. CAPACITY OCCUPIED CAPACITY
A. TOTAL INSTITUTIONS 172,189 1,274 173,463 +6,395 +3.8
(MEN, Subtotal) 160,735 917 161,652 +6,040 +3.8
(WOMEN, Subtotal) 11,454 357 11,811 +355 +3.0
1. INSTITUTIONS/CAMPS 166,017 1,274 167,291 +5,699 43.5 85,546 195.6 168,832
INSTITUTIONS 161,530 1,274 162,804 +5,662 43.6 81,308 200.2 164,473
CAMPS (CCC & SCC) 4,487 . 4,487 +37 +0.8 4,238 105.9 4,359
2. COMMUNITY CORR. CTRS. 5,975 0 5,975 +638 411.9 7,547 79.2
CCF PRIVATE 2,767 2,767 +455 419.6 2,752 100.5
CCF PUBLIC 2,437 2,437 -63 -2.5 2,461 99.0 3
DRUG TREATMT FURLOUGH 504 504 +239 +90.1 1,056 47.7 :
PRIVATE WORK FURLOUGH 96 96 -2 -2.0 1,103 8.7
PRISONER MOTHER PGM 68 68 +2 +3.0 70 97.1
FAMILY FOUNDATION PGM 68 68 +8 +13.3 70 97.1
WORK FUR. IN CUSTODY 35 35 -1 -2.7 35 100.0
3. DMH STATE HOSPITALS 197 197 +58 ° 441.7 z
B. PAROLE 117,986 1,634 119,620 +5,188 +4.5
COMMUNITY SUPERVISION 116,451 1,634 118,085 +5,223 44.6
COOPERATIVE CASES 1,535 1,535 -35 -2.2
C. NON-CDC JURISDICTION 1,897 0 1,897 -144 -7.0
OTHER STATE/FED. INST. 529 529 -25 -4.5
OUT OF STATE PAROLE 1,194 1,194 -71 -5.6
OUT OF STATE PAL 93 93 -31 -25.0
CYA-W&IC 1731.5 (c)
INSTITUTIONS 81 81 -17 -17.3
D. OTHER POPULATIONS 20,762 292 21,054 -1,169 -5.2
INMATES
OUT-TO-COURT, etc. 2,029 56 2,085 +202 +10.7
ESCAPED 235 235 -14 -5.6
PAROLEES (PAL/RAL) 18,498 236 18,734 -1,357 -6.7
TOTAL CDCR POPULATION 312,834 3,200 316,034 +10,270 +3.3
CHANGE FROM LAST WEEK
A. TOTAL INSTITUTIONS -32 +16 -16
(MEN, Subtotal) -74 +7 -67
(WOMEN, Subtotal) ~*~ +42 +9 +51
B. PAROLE +318 -4 +314
D. PAROLEES (PAL/RAL) -32 -4 -36

This report contains the latest available reliable population figures from OBIS. They have been
carefully audited, but are preliminary, and therefore. subject to revision.

Figure excludes institution based camps. Total persons in camps, including base camps, are’
4,575 . Base camp at CMC is included in institution counts.
Report # TPOP-1W. Questions: (916) 327-3262 (CALNET) 467-3262.

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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL MIDNIGHT November 1, 2006
FELON/ CIVIL DESIGN PERCENT STAFFED
INSTITUTIONS /CAMPS OTHER ADDICT TOTAL CAPACITY OCCUPIED CAPACITY
MALE
ASP (AVENAL SP) 7,662 7,662 2,920 262.4 7,710
ccc (CAL CORRECTL CTR) 6,201 6,201 3,882 159.7 6,073
CCI (CAL CORRECTL INSTITN) 5,815 2 5,817 2,985 194.9 6,073
CIM (CAL INSTITN FOR MEN) 6,385 18 6,403 3,207 199.7 6,464
CMF (CAL MEDICAL FACIL) 3,068 3,068 2,307 133.0 3,316
CMC (CAL MEN'S COLONY) 6,550 6,550 3,840 170.6 6,574
CRC (CAL REHAB CTR, MEN) 3,131 845 3,976 1,814 219.2 4,000
CAL (CAL SP, CALIPATRIA) 4,263 4,263 2,308 184.7 4,318
CEN (CAL SP, CENTINELA) 4,922 4,922 4,408 111.7 9,504
COR (CAL SP, CORCORAN) 5,454 1 5,455 3,116 175.1 5,087
LAC (CAL SP, LOS ANGELES CO) 4,422 : 4,422 2,300 192.3 4,418
SAC (CAL SP, SACRAMENTO) 3,093 . 3,093 1,532 201.9 2,781
SQ (CAL SP, SAN QUENTIN) 5,223 5 5,228 3,109 168.2 5,220
SOL (CAL SP, SOLANO) 6,012 6,012 2,610 230.3 6,083
SATF (CAL SATF AND SP - COR) 7,504 3 7,507 3,424 219.2 7,593
CVSP (CHUCKAWALLA VALLEY SP) 4,222 4,222 1,738 242.9 4,292
CTF (CORRL TRAING FAC) 7,151 7,151 3,301 216.6 6,527
DVI (DEVEL VOCATL INSTITN) 3,861 il 3,872 2,270 170.6 4,455
FOL (FOLSOM SP) 4,020 4,020 2,236 173.8 4,078
HDP (HIGH DESERT SP) 4,649 6 4,655 2,444 190.5 4,706
IRON (IRONWOOD SP) 4,726 4,726 2,200 214.8 4,809
KVSP (KERN VALLEY SP) 4,778 1 4,779 2,625 182.1 4,989 i
MCSP (MULE CREEK SP) 3,957 3,957 1,700 232.8 3,609
NKSP (NORTH KERN SP) 5,356 3 5,359 2,692 199.1 5,401
PDC (PITCHESS DETENT CTR-RC) 1,705 . 1,705 0 - 1,292
PBSP (PELICAN BAY SP) 3,493 3,493 2,252 155.1 3,316
PVSP (PLEASANT VALLEY SP) 5,135 5,135 1,808 284.0 4,012
RIO (RIO COSUMNES COR CTR-RC) 395 395 0 - 250
RJD (RJ DONOVAN CORR FACIL) 4,746 4,746 2,200 215.7 4,756
SVSP (SALINAS VAL SP) 4,619 4,619 1,798 256.9 3,176
SRTA (SANTA RITA CO. JAIL-RC) 609 609 0 - 550
SBRN (SAN BRUNO CO. JAIL) 146 146 60 243.3 60
scC (SIERRA CONSERV CTR) 6,207 1 6,208 3,736 166.2 6,215
WSP (WASCO SP) 5,688 21 5,709 2,834 201.4 5,717
MALE TOTAL: 155,168 917 156,085 79,656 195.9 157,424
FEMALE
CIW (CAL INST FOR WOMEN) 2,631 8 2,639 1,346 196.1 2,703
CRC (CAL REHAB CTR, WOMEN) 437 335 772 500 154.4 780
CCWF (CENT CAL WOMEN'S FACIL) 3,898 3 3,901 2,004 194.7 3,943
RIO (RIO COSUMNES COR CTR-RC) 20 20 0 - 20
SBRN (SAN BRUNO CO. JAIL) 2 2 60 3.3 60
VSP (VALLEY SP) 3,861 11 3,872 1,980 195.6 3,902
FEMALE TOTAL: 10,849 357 11,206 5,890 190.3 11,408

INSTITUTIONS/CAMPS TOTAL: 166,017 1,274 167,291 85,546 195.6 168,832

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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL MIDNIGHT November 1, 2006 ‘
FELON/ CIVIL DESIGN PERCENT STAFFED
MALE INSTITUTIONS OTHER ADDICT TOTAL CAPACITY OCCUPIED CAPACITY
ASP (AVENAL SP) 7,662 7,662 2,920 262.4 7,710
ccc (CAL CORRECTL CTR)
Camps 2,038 2,038 1,908 106.8 2,029
Level I 1,583 1,583 866 182.8 1,456
Level II 1,495 1,495 608 245.9 1,503
Level III 1,085 1,085 500 217.0 1,085
CCI (CAL CORRECTL INSTITN)
Level I 1,441 1,441 617 233.5 1,237
Level II 1,390 1,390 640 217.2 1,648
Level IV 1,217 2 1,219 500 243.8 1,075
IV A-Main 962 962 500 192.4 832
IV B-Main 156 156 228 68.4 581
IV B-SHU 649 649 500 129.8 700
CIM (CAL INSTITN FOR MEN)
Level I 2,639 2,639 1,620 162.9 2,760
East - Reception Center 985 4 989 400 247.3 990
Reception Center - Central 1,307 13 1,320 547 241.3 1,304
Reception Center - West 1,454 1 1,455 640 227.3 1,410
CMF (CAL MEDICAL FACIL)
Level I 165 165 117 141.0 177
Level II 379 379 200 189.5 400
Level III 2,524 2,524 1,990 126.8 2,739
CMC (CAL MEN'S COLONY)
. East 3,738 3,738 2,425 154.1 3,720
West 2,812 2,812 1,415 198.7 2,854
CRC (CAL REHAB CTR, MEN) 3,131 845 3,976 1,814 219.2 4,000
CAL (CAL SP, CALIPATRIA) .
Level I 382 382 208 183.7 408
Level IV 3,881 3,881 2,100 184.8 3,910
CEN (CAL SP, CENTINELA)
Level I 392 392 208 188.5 408
Level III 4,431 4,431 2,100 211.0 4,548 :
Level III - : 99 99 2,100 4.7 4,548
COR (CAL SP, CORCORAN)
Level I 849 849 492 172.6 876
Level III 345 345 1,100 31.4 2,010
Level IV . 2,974 2,974 628 473.6 1,044
SHU 1,273 1 1,274 872 146.1 1,133
PHU - 13 13 24 54.2 24
LAC (CAL SP, LOS ANGELES CO)
Level I : 306 306 200 153.0 400
Level III/Iv 2,980 2,980 1,600 186.3 2,840
Reception Center 1,136 1,136 500 227.2 1,178
SAC (CAL SP, SACRAMENTO)
Level I 328 328 192 170.8 368
Level Iv 2,765 2,765 1,340 206.3 2,413
so (CAL SP, SAN QUENTIN)
Level I 21 21 115 18.3 251
Level II 1,778 1,778 937 189.8 1,643
Condemned 607 607 637 95.3 637
Reception Center 2,817 5 2,822 - 1,420 198.7 2,689
SOL (CAL SP, SOLANO) :
Level II 3,382 3,382 1,410 239.9 3,608
Level III 2,630 2,630 1,200 219.2 2,475
SATF (CAL SATF AND SP - COR} 7,504 3 7,507 3,424 219.2. 7,593
CVSP (CHUCKAWALLA VALLEY SP)
Level I 389 389 208 187.0 408
Level II 3,833 3,833 1,530 250.5 . 3,884
CTF (CORRL TRAING FAC)
Central-II 3,083 3,083 1,391 221.6 3,127
North-II/III 2,940 2,940 1,400 210.0 2,280
South-I . 1,128 1,128 510 221.2 1,120
DVI (DEVEL VOCATL INSTITN)
Level I 5 5 176 2.8 279
Level III 736 736 §32 - 138.3 942
Reception Center 3,120 11 3,131 1,562 200.4 3,234
FOL (FOLSOM SP)
PSAP 184 184 129 . 142.6 200
TTP 142 142 131 108.4 203
Level I 387 387 200 193.5 424
Level II 1,519 1,519 480 316.5 787
Level III 1,788 1,788 1,296 138.0 2,464
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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL MIDNIGHT November 1, 2006 oS

FELON/ CIVIL DESIGN PERCENT STAFFED
MALE INSTITUTIONS OTHER ADDICT TOTAL CAPACITY OCCUPIED CAPACITY
HDP (HIGH DESERT SP)
Level I 394 394 200 197.0 400
Level II . 127 127 120 105.8 120
Level III 780 780 200 390.0 620
Level IV 2,748 2,748 1,624 169.2 2,996
Reception Center 600 6 606 300 202.0 570

IRON (IRONWOOD SP)

Level I 384 384 200 192.0 400
Level ITI 4,342 4,342 2,000 217.1 4,409
KVSP (KERN VALLEY SP) .
Level IV 3,916 L 3,917 2,248 174.2 4,166
Level I 371 371 200 185.5 400
Adseg 484 484 150 322.7 396
cTc 7 7 27 25.9 27

MCSP (MULE CREEK SP)

Level I 381 381 200 190.5 392
Level III 2,588 2,588 1,000 258.8 2,287
Level IV 988 988 500 197.6 930

NKSP (NORTH KERN SP)

: Level I 349 349 208 167.8 408
Level III 447 447 200 223.5 380
Reception Center 4,560 3 4,563 2,284 199.8 4,613

PDC (PITCHESS DETENT CTR-RC) 1,705 1,705 0 - 1,292

PBSP (PELICAN BAY SP)

Level 1. 303 303 200 151.5 392
Level III/IV 2,096 2,096 996 210.4 1,815
SHU 1,094 1,094 1,056 103.6 1,109

PVSP (PLEASANT VALLEY SP) :

Level I 389 389 208 187.0 408
Level III 4,746 4,746 1,600 296.6 3,604

RIO (RIO COSUMNES COR CTR-RC) 395 395 0 - 250 :

RJD (RJ DONOVAN CORR FACIL) 7
Level I 356 356 200 178.0 400
Level III 2,368 2,368 | 1,100 215.3 2,177
Reception Center 2,022 2,022 900 224.7 2,179

SVSP (SALINAS VAL SP)

Level I 398 398 200 199.0 400
Level IV 4,221 4,221 1,598 264.1 2,776

SRTA (SANTA RITA CO. JAIL-RC) 609 609 0 - 550

SBRN (SAN BRUNO CO. JAIL) 146 146 60 243.3 60

SCC (SIERRA CONSERV CTR)

Camps -Men 2,115 : 2,115 2,010 105.2 2,010
Level I 1,313 1,313 618 | 212.5 1,378
Level If 1,622 1 1,623 608 266.9 1,634
Level III. 1,157 1,157 500 231.4 1,193
WSP (WASCO SP)
Level I 294 294 200 147.0 296
Level III 433 433 250 173.2 475
Reception Center 4,961 21 4,982 2,384 209.0 4,946
MALE TOTAL: 155,168 917 156,085 79,656 195.9 157,424

FEMALE INSTITUTIONS
CIW (CAL INST FOR WOMEN) Q
Institution 1,997 7 2,004 792 253.

0 1,967

Reception Center 281 1 282 214 131.8 400

Corr Trt Ctr 19 19 20 95.0 16

Camps -Women 334 334 320 104.4 320
CRC (CAL REHAB CTR, WOMEN) 437 335 772 500 154.4 780
CCWF (CENT CAL WOMEN'S FACIL)

Institution 3,157 3 3,160 1,633 193.5 3,162

Reception Center 728 728 356 204.5 766

Condemned 13 13 15 86.7 15
RIO (RIO COSUMNES COR CTR-RC) 20 20 0 - 20
SBRN (SAN BRUNO CO. JAIL) | 2 2 60 3.3 60
VSP (VALLEY SP)

Institution 3,071 3,071 1,580 194.4 3,132

Reception Center 726 11 737 356 207.0 708

SHU ' 64 64 44 145.5 62
FEMALE TOTAL: 10,849 357 11,206 5,890 190.3 11,408
INSTITUTIONS/CAMPS TOTAL: 166,017 1,274 167,291 85,546 195.6

168,832
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Exhibit C

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Data Analysis Unit Department of Corrections and Rehabilitation
Estimates and Statistical Analysis Section State of California
Offender Information Services Branch September 11, 2006

WEEKLY REPORT OF POPULATION
AS OF MIDNIGHT September 6, 2006

TOTAL CDCR POPULATION
CHANGE SINCE

FELON/ CIVIL 09/07/05 DESIGN PERCENT STAFFED
OTHER ADDICT TOTAL NO. PCT. CAPACITY OCCUPIED CAPACITY
A. TOTAL INSTITUTIONS 170,967 1,246 172,213 +6,453 +3.8
(MEN, Subtotal) 159,524 889 160,413 +5,868 43.7
(WOMEN, Subtotal) 11,443 357 11,800 +585 +5.2
1. INSTITUTIONS/CAMPS 164,674 1,246 165,920 +5,467 +3.4 88,396 187.7 166,509
INSTITUTIONS 160,195 1,246 161,441 +5,453 +3.4 84,488 191.1 162,471
CAMPS (CCC & SCC) 4,479 4,479 +14 +0.3 3,908 114.6 4,038
2. COMMUNITY CORR. CTRS. 6,109 0 6,109 +956 +18.5 7,543 81.0
CCF PRIVATE 2,848 2,848 +586 425.9 2,752 103.5
CCF PUBLIC 2,494 2,494 +73 +3.0 2,461 101.3
DRUG TREATMT FURLOUGH 497 497 +287 +136.6 1,056 47.1
PRIVATE WORK FURLOUGH 101 101 +3 43.0 1,103 9.2
PRISONER MOTHER PGM 68 68 -1 -1.4 70 97.1
FAMILY FOUNDATION PGM 70 70 +9 414.7 70 100.0
WORK FUR. IN CUSTODY 31 31 -1 -3.1 31 100.0
3. DMH STATE HOSPITALS 184 184 +30 419.4 .
B. PAROLE / 116,618 1,707 118,325 +3,761 43.2
COMMUNITY SUPERVISION 115,087 1,707 116,794 +3,831 43.3
COOPERATIVE CASES 1,531 1,531 -70 -4.3
C. NON-CDC JURISDICTION 1,893 0 1,893 -149 -7.2
OTHER STATE/FED. INST. 527 527 -26 -4.7
OUT OF STATE PAROLE 1,194 1,194 -70 -5.5
OUT OF STATE PAL 95 95 -35 ~26.9
CYA-W&IC 1731.5(c)
INSTITUTIONS 77 17 -18 -18.9
D. OTHER POPULATIONS 21,038 282 21,320 -835 -3.7
INMATES
OUT-TO-COURT, etc. 2,051 50 2,101 +280 415.3
ESCAPED 237 237 -19 -7.4
PAROLEES (PAL/RAL) 18,750 232 18,982 -1,096 -5.4
TOTAL CDCR POPULATION 310,516 3,235 313,751 +9,230 +3.0

CHANGE FROM LAST WEEK

A. TOTAL INSTITUTIONS -154 +15 -139
(MEN, Subtotal) ~204 +7 ~197
(WOMEN, Subtotal) +50 +8 +58
B. PAROLE +220 -7 +213
D. PAROLEES (PAL/RAL) +282 +4 +286

This report contains the latest available reliable population figures from OBIS. They have been
carefully audited, but are preliminary, and therefore subject to revision.

Figure excludes institution based camps. Total persons in camps, including base camps, are
4,565 . Base camp at CMC is included in institution counts.
Report # TPOP-1W. Questions: (916) 327-3262 (CALNET) 467-3262.

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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL MIDNIGHT September 6, 2006 :

FELON/ CIVIL DESIGN PERCENT STAFFED
INSTITUTIONS/CAMPS OTHER ADDICT TOTAL CAPACITY OCCUPIED CAPACITY
MALE
ASP (AVENAL SP) 7,511 7,511 3,114 241.2 7,028
ccc (CAL CORRECTL CTR) 6,149 6,149 3,682 167.0 5,750
CCI (CAL CORRECTL INSTITN) 5,765 2 5,767 3,020 191.0 5,558
CIM (CAL INSTITN FOR MEN) 6,533 21 6,554 3,078 212.9 6,615
CMF (CAL MEDICAL FACIL) 3,010 3,010 2,315 130.0 3,351
CMC (CAL MEN'S COLONY) 6,533 6,533 3,884 168.2 6,604
CRC (CAL REHAB CTR, MEN) 3,153 807 3,960 1,814 218.3 3,952
CAL (CAL SP, CALIPATRIA) 4,183 4,183 2,508 166.8 4,268
CEN (CAL SP, CENTINELA) 4,949 1 4,950 2,316 213.7 5,103
COR (CAL SP, CORCORAN) 5,334 1 5,335 3,016 176.9 5,134
LAC (CAL SP, LOS ANGELES CO) 4,540 4,540 2,600 174.6 5,084
SAC (CAL SP, SACRAMENTO) 3,177 3,177 1,898 167.4 3,244
SQ (CAL SP, SAN QUENTIN) 5,058 7 5,065 3,661 138.4 5,681
SOL (CAL SP, SOLANO) 6,119 6,119 2,658 230.2 5,660
SATF (CAL SATF AND SP - COR) 7,419 2 7,421 3,591 206.7 7,027
CVSP (CHUCKAWALLA VALLEY SP) 3,875 3,875 1,738 223.0 3,860
CTF (CORRL TRAING FAC) 7,087 7,087 3,319 213.5 7,001
DVI (DEUEL VOCATL INSTITN) 3,887 8 3,895 1,787 218.0 3,551
FOL (FOLSOM SP) 4,045 4,045 2,475 163.4 4,249
HDP (HIGH DESERT SP) 4,744 3 4,747 2,534 187.3 4,752
IRON (IRONWOOD SP) 4,639 4,639 2,200 210.9 4,653
KVSP (KERN VALLEY SP) 4,706 6 4,712 2,718 173.4 4,636
MCSP (MULE CREEK SP) . 3,937 3,937 1,700 231.6 3,837
NKSP (NORTH KERN SP) 5,349 3 5,352 2,918 183.4 5,387
PDC (PITCHESS DETENT CTR-RC) 1,478 1,478 0 - 1,292
PBSP (PELICAN BAY SP) 3,460 1 3,461 2,376 145.7 3,582
PVSP (PLEASANT VALLEY SP) 5,055 5,055 2,298 220.0 5,028
RIO (RIO COSUMNES COR CTR-RC) 327 327 0 - 250
RJD (RJ DONOVAN CORR FACIL) 4,722 : 4,722 2,308 204.6 4,443
SVSP (SALINAS VAL SP) 4,593 4,593 2,914 157.6 4,510
SRTA (SANTA RITA CO. JAIL-RC) 604 604 0 - 750
SBRN (SAN BRUNO CO. JAIL) 152 152 60 253.3 200
SCC (SIERRA CONSERV CTR) 6,095 1 6,096 3,606 169.1 6,107
WSP (WASCO SP) 5,700 26 5,726 3,314 172.8 6,066
MALE TOTAL: 153,888 889 154,777 81,420 190.1 154,213
FEMALE
CIWw (CAL INST FOR WOMEN) 2,688 12 2,700 2,372 113.8 4,220
CRC (CAL REHAB CTR, WOMEN) 400 321 721 500 144.2 680
CCWF (CENT CAL WOMEN'S FACIL) 3,913 5 3,918 2,029 193.1 3,490
RIO (RIO COSUMNES COR CTR-RC) 27 27 0 - 20
SBRN (SAN BRUNO CO. JAIL) 12 , 12 60 20.0 200
VSP (VALLEY SP) 3,746 19 3,765 2,015 186.8 3,686
FEMALE TOTAL: 10,786 357 11,143 6,976 159.7 12,296
INSTITUTIONS/CAMPS TOTAL: 164,674 1,246 165,920 88,396 187.7 166,509

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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL MIDNIGHT September 6, 2006
FELON/ CIVIL DESIGN PERCENT STAPFED
MALE INSTITUTIONS OTHER ADDICT . TOTAL CAPACITY OCCUPIED CAPACITY
ASP (AVENAL SP) 7,511 7,511 3,114 241.2 7,028
ccc (CAL CORRECTL CTR)
Camps 2,035 2,035 1,708 119.1 1,708
Level I 1,552 1,552 866 179.2 1,456 :
Level Ii 1,510- 1,510 608 248.4 1,393
Level III 1,052 1,052 500 210.4 1,193
CCI (CAL CORRECTL INSTITN)
Level I 1,518 1,518 617 246.0 1,237
Level II 1,327. 1,327 _ 664 199.8 1,695
Level IV 1,126 2 1,128 500 225.6 1,075
IV A-Main 947 947 555 170.6 703
IV B-~Main 163 163 228 71.5 581
IV B-SHU 684 684 456 150.0 267
CIM (CAL INSTITN FOR MEN)
Level I : 2,840 2,840 1,420 200.0 2,760
Bast - Reception Center 1,087 4 1,091 400 272.7 990
Reception Center - Central 1,182 15 1,197 618 193.7 1,455
Reception Center - West 1,424 2 1,426 640 222.8 1,410
CMF (CAL MEDICAL FACIL)
Level I 158 158 117 135.0 177
Level II 369 369 250 147.6 410
Level III 2,483 2,483 1,948 127.5 2,764
CMC (CAL MEN'S COLONY)
East 3,716 3,716 2,425 153.2 3,750
West 2,817 2,817 1,459 193.1 2,854
CRC (CAL REHAB CTR, MEN) . 3,153 807 3,960 1,814 218.3 3,952
CAL (CAL SP, CALIPATRIA) :
Level I 365 365 208 175.5 : 358
Level IV 3,818 3,818 2,300 166.0 3,910
CEN (CAL SP, CENTINELA)
Level I 393 393 208 188.9 408 :
Level III 4,447 1 4,448 1,608 276.6 3,815
Level IV 109 : 109 500 21.8 880
COR (CAL SP, CORCORAN)
Level I 867 867 492 176.2 826
Level III , 310 310 200 155.0 342
Level Iv 2,873 , 2,873 1,300 221.0 2,720
SHU 1,271 1 1,272 1,000 127.2 1,200
PHU , 13 13 24 54.2 46
LAC (CAL SP, LOS ANGELES CO)
Level I 311 311 200 155.5 400
Level III/IV 3,080 3,080 2,000 154.0 4,284
Reception Center 1,149 1,149 400. 287.2 400
SAC (CAL SP, SACRAMENTO)
Level I 332 332 362 91.7 384
Level IV 2,845 2,845 1,536 185.2 2,860
SQ (CAL SP, SAN QUENTIN)
Level I 29 29 234 12.4 215
Level II 1,752 1,752 1,073 163.3 1,929
Condemned 603 603 587 102.7 635
Reception Center 2,674 7 2,681 1,767 151.7 2,902
SOL (CAL SP, SOLANO)
Level II 3,402 3,402 1,458 233.3 3,080
Level III 2,717 2,717 1,200 226.4 2,580
SATF (CAL SATF AND SP - COR) 7,419 2 7,421 3,591 206.7 7,027
‘CVSP (CHUCKAWALLA VALLEY SP)
Level I 358 358 208 172.1 408
Level II 3,517 3,517 1,530 229.9 3,452
CTF (CORRL TRAING FAC) .
Central-II 3,132 3,132 1,409 222.3 3,051
North-II/1it 2,874 2,874 1,400 205.3 2,860
South-I 1,081 1,081 510 212.0 1,090
DVI (DEUBL VOCATL INSTITN)
Level I : : 6 6 176 3.4 231
Level III 675 675 532 126.9 942
Reception Center 3,206 8 3,214 1,079 297.9 2,378
FOL (FOLSOM SP) . . :
PSAP 157 157 200 78.5 200
TTP 160 160 203 78.8 203
Level I . 331 331 296 111.8 471
Level II 1,581 1,581 1,067 148.2 2,027
Level III 1,816 1,816 709 256.1 1,348
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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL

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MIDNIGHT September 6, 2006

FELON/ CIVIL DESIGN PERCENT STAFFED

MALE INSTITUTIONS OTHER ADDICT TOTAL CAPACITY OCCUPIED CAPACITY
HDP (HIGH DESERT SP)

Level I 394 394 200 197.0 400

Level II 131 131 120 109.2 120

Level III 828 828 400 207.0 1,002

Level Iv 2,752 2,752 -1,714 160.6 2,850

Reception Center 639 3 642 100 642.0 380
IRON (IRONWOOD SP)

Level I 371 371 200 185.5 400

Level III 4,268 4,268 2,000 213.4 4,253
KVSP (KERN VALLEY SP)

Level Iv 3,842 1 3,843 1,984 193.7 3,770

Level I 433 433 200 216.5 200

Adseg 426 5 431 264 163.3 396

cT¢c 5 5 270 1.9 270
MCSP (MULE CREEK SP)

Level I 381 381 200 190.5 392

Level III 2,587 2,587 1,000 258.7 2,335.

Level IV 969 969 500 193.8 1,110
NKSP (NORTH KERN SP)

Level I 345 345 208 165.9 358

Level III 424 424 500 - 84.8 868

Reception Center 4,580 3 4,583 2,210 207.4 4,161
PDC (PITCHESS DETENT CTR-RC) 1,478 1,478 0 - 1,292
PBSP (PELICAN BAY SP)

Level I 288 288 296 97.3 384

Level III/IV 2,063 1 2,064 1,024 201.6 1,931

SHU 1,109 1,109 1,056 105.0 1,267
PVSP (PLEASANT VALLEY SP)

Level I 365 365 208 175.5 408

Level Iii 4,690 4,690 2,090 224.4 4,620
RIO (RIO COSUMNES COR CTR-RC) 327 327 0 - 250
RJD (RJ DONOVAN CORR FACIL)

Level I 356 356 200 178.0 392

Level III 2,346 2,346 1,500 156.4 2,899

Reception Center 2,020 2,020 608 332.2 1,152
SVSP (SALINAS VAL SP)

Level I 395 395 280 141.1 400

Level IV 4,198 4,198 2,634 159.4 4,110
SRTA (SANTA RITA CO. JAIL-RC) 604 604 0 - 750
SBRN (SAN BRUNO CO. JAIL) 152 152 60 253.3 200
SCC (SIERRA CONSERV CTR)

Camps -Men 2,128 2,128 1,880 113.2 2,010

Level I 1,334 1,334 618 215.9 1,378

Level II 1,546 1 1,547 608 254.4 1,634

Level III 1,087 1,087 500 217.4 1,085
WSP (WASCO SP)

Level I 272 272 200 136.0 392

Level III 456 456 500 91.2 773

Reception Center 4,972 26 4,998 2,614 191.2 4,901
MALE TOTAL: 153,888 889 154,777 81,420 190.1 154,213
FEMALE INSTITUTIONS
CIW (CAL INST FOR WOMEN)

Institution 2,063 12 2,075 916 226.5 1,505

Reception Center 286 286 110 260.0 445

Corr Trt Ctr 20 20 916 2.2 1,505

Corr Trt Ctr RC 3 3 110 2.7 445

Camps -Women 316 316 320 98.8 320
CRC (CAL REHAB CTR, WOMEN) 400 321 721 500 144.2 680
CCWF (CENT CAL WOMEN'S FACIL)

Institution 3,159 3 3,162 1,623 194.8 2,588

Reception Center 740 2 742 393 188.8 887

Condemned 14 14 13 107.7 15
RIO (RIO COSUMNES COR CTR-RC) 27 27 0 - 20
SBRN (SAN BRUNO CO. JAIL) 12 12 60 20.0 200
VSP (VALLEY SP)

Institution 3,023 3,023 1,571 192.4 2,946

Reception Center 664 19 683 400 170.8 678

SHU 59 59 44 134.1 62
FEMALE TOTAL: 10,786 357 11,143 6,976 159.7 12,296
INSTITUTIONS/CAMPS TOTAL: 164,674

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1,246 165,920 88,396 187.7 166,509

